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____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

        IN RE: CHRISTOPHER W. ROBERTS                           CHAPTER 7
               DEBTOR                                           CASE NO. 19-14684-JDW




     ORDER APPROVING TRUSTEE’S FINAL REPORT AND ACCOUNT OF
 ADMINISTRATION OF ESTATE, REPORT OF RECEIPTS AND DISBURSEMENTS,
  APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES,
               AND NOTICE OF PROPOSED DISTRIBUTION

        THIS DAY this cause came before the Court on the Trustee’s Final Report and Account
of Administration of Estate, Report of Receipts and Disbursements, Application for
Compensation and Notice of Proposed Distribution; and the Court having fully reviewed the
same finds that said Final Report should be approved as set forth herein.
        IT IS THEREFORE ORDERED that the Trustee’s Final Report and Account of
Administration of Estate, Report of Receipts and Disbursements, Application for Compensation
and Notice of Proposed Distribution is hereby approved, and the Trustee is hereby authorized
and directed to distribute the funds of the estate as set forth below, to be adjusted for additional
estate earned interest, if any.
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Claim No. Name of Party                      Description                        Amount
Administrative Expenses:
            WILLIAM L. FAVA                  Trustee Compensation              $2,407.09
            WILLIAM L. FAVA                  Trustee Expenses                     $30.00
            WILLIAM L. FAVA                  Attorney for Trustee Expenses      $605.00
                                             (Trustee Firm)
                                                                               $3,042.09
Prior Chapter Administrative Expenses:
            None
                                                                                   $0.00
Secured Claims:
            None
                                                                                   $0.00
Judgement Lienholders:
            None
                                                                                   $0.00
Priority Claims:
            None
                                                                                   $0.00
Unsecured Claims:
1          ASHLEY FUNDING                    General Unsecured 726(a)(2)           $6.14
           SERVICES, LLC
2           FOUNDATION BUILDING              General Unsecured 726(a)(2)       $5,145.10
            MATERIALS
3           METHODIST LEBONHEUR              General Unsecured 726(a)(2)           $1.12
            HEALTHCARE
4           THE SHERWIN-WILLIAMS             General Unsecured 726(a)(2)        $702.47
            COMPANY
5           CUMBERLAND MATERIALS,            General Unsecured 726(a)(2)       $1,927.29
            INC.
6a          INTERNAL REVENUE                 General Unsecured 726(a)(2)       $5,698.41
            SERVICE
                                                                              $13,480.53
Other:
            None
                                                                                   $0.00
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       IT IS FURTHER ORDERED THAT THE Trustee shall make all disbursements
authorized herein within ten (10) days of the entry of this Order.
       IT IS FURTHER ORDERED that within ninety (90) days after distribution of estate
funds, the Trustee shall stop payment on any check remaining unpaid and any remaining
property of the estate shall be paid into the Court and disposed of under Chapter 129 of Title 28.
       IT IS FURTHER ORDERED that within 125 days of the entry of this Order, the
Trustee will provide to the United States Trustee the Trustee’s Distribution Report in accordance
with the policy and procedures of the Office of the United States Trustee.

                                     ## END OF ORDER ##

Prepared by:

William L. Fava
155 Stateline Rd. E.
Southaven, MS 38671
Phone: 662-536-1116
Fax: 662-536-1109
wfava@favafirm.com
